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COMPANY INTELLIGENCE REPORT 2016/101

RUSSIA/US PRESIDENTIAL ELECTION: SENIOR KREMLIN FIGURE OUTLINES EVOLVING RUSSIAN TACTICS IN
PRO-TRUMP, ANTI-CLINTON OPERATION

Summary

Head of PA, IVANOV assesses Kremlin interventionin US presidential election and outlines leadership
thinkingon operational way forward

No new leaks envisaged, as too politically risky, but rather further exploitation of (WikiLeaks) material
already disseminated to exacerbate divisions

Educated US youth to be targeted as protest (against CLINTON) and swing vote in attempt to turn them
over to TRUMP

Russian leadership, including PUTIN, celebrating perceived success to date in splitting US hawks and
elite

Kremlin engaging with several high profile US players, including STEIN, PAGE and (former DIA Director
Michael Flynn), and funding their recent visits to Moscow

Details

1. Speaking in confidence to a close colleague in early August 2016, Head of the Russian Presidential
Administration (PA), Sergei IVANOV, assessed the impactand results of Kremlin intervention in the US
presidential electionto date. Although most commentators believed that the Kremlin was behind the
leaked ONC/CLINTON e-mails, this remained technically deniable. Therefore the Russians would not
risk their position for the time being with new leaked material, even to a third party like WikiLeaks.
Rather the tactics would be to spread rumours and misinformation about the content of what already
had been leaked and make up new content.

2. Continuing on this theme, !VANOV said that the audience to be targeted by such operations was the
educated youth in America as the PA assessed that there was sti!! a chance they could be persuaded to
vote for Republican candidate Donald TRUMP as a protest against the Washingtan establishment (in
the form of Democratic candidate Hillary CLINTON). The hope was that even if she won, asa resultof
this CLINTON in power would be bogged down in working for internal reconciliation tn the US, rather
than being able to focus on foreign policy which would damage Russia’s interests. This also should give
PresidentPUTIN more room for manoeuvre inthe run-up to Russia’s own presidential election in 2018.

3. IVANOV reported that although the Kremlin had underestimated the strength of US media and liberal
reaction to the DNC hackand TRUMP’s links to Russia, PUTIN was generally satisfied with the progress
of the anti-CLINTON operation to date. He recently had had a drink with PUTIN to mark this. In |VANOV’s
view, the US had tried to divide the Russian elite with sanctions but failed, whilstthey, by contrast, had
succeeded in splitting the US hawks inimical to Russia and the Washington elite more generally, half of
whom had refused to endorse any presidential candidateas a result of Russian intervention.

4. Speaking separately, also in early August 2016, a Kremlin official involved in US relations commented
on aspects of the Russian operation to date. Its goals had been threefold- askingsympathetic US actors
how Moscow could help them; gathering relevant intelligence; and creating and disseminating
compromising information (‘kampromat’). This had involved the Kremlin Supporting various US political
figures, Including funding indirectly their recent visits to Moscow. S/he named a delegation from
Lyndon LAROUCHE; presidential candidate Jill STEIN of the Green Party; TRUMP foreign policy adviser

is
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Carter PAGE; and former DIA Director Michael Flynn, in this regard and as successful in terms of
perceived outcomes.

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